                 Case 20-12836-KBO             Doc 1072        Filed 01/23/23         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                       )   Chapter 11
    In re                                              )
                                                       )   Case No. 20-12836 (JTD)
    CRED INC., et al.,                                 )   (Jointly Administered)
                                                       )
            Debtors 1                                  )   Obj. Deadline: February 2, 2023,
                                                       )   at 4:00 p.m. (ET)
                                                       )   Hearing Date: February 9, 2023 at 2:00 PM
                                                       )   (ET)

                              DECLARATION OF ANGELA J. SOMERS

            I, Angela J. Somers, pursuant to 28 U.S. Code § 1746, make the following declaration:

            1.     I am an attorney admitted to practice in the State of New York. I am a partner at

Reid, Collins & Tsai LLP, counsel to the Trustees (the “Trustees”) of the Cred Inc. Liquidation

Trust (the “Trust”) established in the chapter 11 bankruptcy cases of the above-captioned

debtors.

            2.     I submit this Declaration in support of the Trustees’ Motion Pursuant to Section

105 of the Bankruptcy Code for Clarification of the July 19, 2022 Bench Ruling Regarding Trust

Authority to Acquire Third Party Claims, filed concurrently herewith.

            3.     I have personal knowledge of the facts set forth herein and, if called as a witness,

I could and would testify competently to them.

            4.     Attached hereto as Exhibit A is a true and correct copy of Transcript of Hearing

Before The Honorable John T. Dorsey, United States Bankruptcy Judge, docketed in these

proceedings as ECF No. 1041.



1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Cred Inc. (8268), Cred (US) LLC (5799), Cred Capital, Inc. (4064), Cred Merchant Solutions
LLC (3150), Cred (Puerto Rico) LLC (3566). The Debtors’ mailing address is 3 East Third Avenue, San Mateo,
California 94401.
Case 20-12836-KBO   Doc 1072   Filed 01/23/23   Page 2 of 2
